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ates Garrity-Rokous, Esq., Wiggin and Dana LLP
0 BOX 1832,New Haven CT 06508 (203) 498-43 0

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JS44

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The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
by lawl except as provided by local rules of court. This form, approved by the Judicia| Conference of the United Slates in September 1974, is required for the use
of the C|erk 01 Court for the purpose of initiating the civil docket sheet. (SEE |NSTRUCT|ONS ON THE REVERSE OF THE FORM.)

l. (a) PLA|NT|FFS DEFENDANTS

Marjorie Evans Bill Willingham, Warden

FCI Denbury FCI Danbury _
Rt 37 Federal Correctlonal Institution
D g ury, CT 06811 . . Rt 37, Danbury, CT 06811
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(EXCEPT lN U.S. PLA|NT|FF CASES) (IN U.S. PLA|NT|FF CASES ONLY)

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TRACT OF LAND lNVOLVED.

 

(c) ATTORNEYS (F|RM NAME, ADDRESS, AND TELEPHONE NUMBER) ATTORNEYS (|F KNOWN)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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28 U.S.C Sec. 22414-Petition for Writ of Habeas Corpus

 

 

 

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT
MARJORIE EVANS,
Petitioner,
v. CIVIL ACTION NO.
BILL WILLINGHAM, Warden, Federal

Correctional Institution-Camp Danbury,
Connecticut,

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Respondent. )
PETITION FOR WRIT OF HABEAS CORPUS
UNDER 28 U.S.C. § 2241
BY A PRISONER IN FEDERAL CUSTODY

Petitioner Marjorie Evans (“Evans”) is presently serving a sentence at the Federal
Correctional Institution at Danbury, Connecticut (“FPC Danbury”). Evans is petitioning this
Court pursuant to 28 U.S.C. § 2241 for a Writ of Habeas Corpus because Respondent Bill
Willingham, Warden (“the Warden”), is denying Evans the full amount of community
confinement that Evans is entitled to at the conclusion of her sentence Under Bureau of Prisons
(“BOP”), program statements Evans is allowed to be placed at a community corrections center
(“CCC”) 180 days before her scheduled release from incarceration Assuming that Evans Would
receive good conduct time credit (“GCT”), Evans Will be 180 days from her scheduled release
date on or about January 12, 2006. As such, time is of the essence. Accordingly, Evans provides
the following information in support of her claims:
PARTIES

l. Evans is presently confined at FPC Danbury Which is Within the jurisdiction of

this Court. Evans’ projected release date is July 12, 2006. Her prisoner number is 10817036.

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'Evans Was sentenced to a term of one year and one day by United States District Court Judge
Woodcock from the District of Maine on or about July 21, 2005. Evans commenced her
sentence on August 30, 2005. Evans is presently 43 years old. She has been married to Kyle
Evans for 20 years, and is the mother of two teenage boys. She holds a Bachelor of Science
degree from Simmons College, and has lived in Maine all of her adult life. She self-surrendered
to FCI Danbury on or about August 30, 2005 . Evans is participating in the Puppies Behind Bars
program and is tutoring inmates enrolled in the GED programs

2. The Warden acts under the authority of 18 U.S.C. §4042(a)(2), as the delegated
authority from BOP to “provide for the safekeeping, care and subsistence” of Evans. The
Warden also has the authority to approve transfers from FPC Danbury to another “appropriate
and suitable place of confinement, and may choose any ‘available penal or correctional facility
that meets minimum standards of health and habitability. . . ”’ 18 U.S.C. §3621(b). Transfer to a
CCC for the final portion of imprisonment is Within the Warden’s authority. E BOP Program
Statement (“P.S.”) 7310.04, Community Corrections Center (“CCC”) Utilization and Transfer
Procedures, Paragraph 12.A, at 12 (1998). The Warden is sued in his official capacity as the
party responsible for the decision that is being challenged as Well as in his capacity as Evans’
present custodian 7

JURISDICTIONAL ALLEGATIONS

3. This Court has jurisdiction to issue a Writ of Habeas Corpus and to grant relief as
law and justice require under 28 U.S.C. §§ 1331, 224l(a), (c)(l), and 2243, because Evans is
confined Within the territorial jurisdiction of this Court Where she is held in the Warden’s

custody under color of the authority of the United States.

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4. This Court also has jurisdiction under 28 U.S.C. §1361 to issue relief in the nature
of a Writ of Mandamus compelling the Warden in his official capacity to perform a duty owed to
Evans, i.e., to refrain from denying her more than twenty-nine days’ confinement at a CCC on
the mistaken premise that such placement is prohibited by law.

5. Declaratory relief under 28 U.S.C. §2201 is also sought

FACTUAL ALLEGATIONS

 

6. Pursuant to a plea agreement filed in the United States District Court, District of
Maine, Evans appeared before United States District Court Judge John Woodcock, Jr., on April
l, 2004, and entered a guilty plea to eight counts of the indictment pending against her., Docket
No. l: 03-CR-95-003. Evans’ guilty pleas were to charges of Mail Fraud; Concealing Smuggled
Items; Making False Statements; Violating the Virus Serum ToXin Act; Accessory After the Fact
to Smuggling; Aiding and Abetting Mail Fraud; Making False Statements in a Matter Within the
United States; and Aiding and Abetting the Violation of the Virus Serum ToXin Act. The conduct
underlying the charges occurred in 1999 and'2000.

7. Evans was released on personal recognizance bail prior to sentencing She earned
one day of jail credit for her time in the United States Marshal’s custody.

8. A sentencing was held on July 21, 2005. At that time, United States District
Court Judge John Woodcock, Jr., sentenced Evans to imprisonment of one year and one day, to '
be followed by three years of Supervised release and a fine in the amount of $l0,0(_)O. Evans paid
her $725 Special assessment on April l, 2004, and completed the payment of the fine in
September 2005. Judgment was entered on July 21, 2005, and became final on August 8, 2005,

when the time to file a notice of appeal expired.

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9. Evans was allowed to self-surrender, and after being designated to serve her
sentence at FCI.Danbury, Evans did so on August 30, 2005j According to BOP’s official
calculation, Evansf sentence will “expire full term” on August 29, 2006. Her projected release
date based on accumulated GCT under 18 U.S.C. §3624(b) is July 12, 2006. As such, the
Warden has calculated Evans’ “pre-release preparation date” (a/k/a “ten percent date”)_the date
BOP considers Evans to be eligible for placement at a CCC ([full-term, less credit for good
conduct] times 0.9)_to be June 13, 2006.

10. _BOP rules have long allowed for confinement in halfway houses for up to 180
days at the end of a prisoner’s sentence (and sometimes longer), even if that is more than ten
percent of time served. P-olicy Statement 7310.04. In the years prior to December 2002, the
Warden and his predecessors customarily transferred FPC Danbury prisoners to halfway houses
well before their “`ten percent days” regardless of sentence length.

ll. The' recommendation of the staff at FPC Danbury with regard to the duration of
Evans’.pre-release halfway house opportunity is, since December 2002, constrained by a national
BOP policy limiting all vCCC placements, except in certain circumstances not relevant here, to
the final ten percent of the time an inmate serves. Through meetings with her unit team, Evans
learned that her recommended “CCC -date” coincides exactly with her “ten percent date,” that is,
June 13, 2006. l

12. Formal review of a unit team’s response to a request for administrative remedy is
made available through the Bureau’s Three-Step Administrative Remedy Program. w 28
C.F.R. §542.10-542.15. Evans did not initiate an administrative appeal of the ten percent date

announced and reiterated by her unit team, Which is the only administrative remedy available,

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because doing so would be futile, and was therefore unnecessary prior to seeking judicial
remedy, for three reasons:

a. Under 28 C.F.R. §542.15, the highest level of administrative appeal available is to
the BOP’s General Counsel. On December 20, 2002§ the Bureau’s General Counsel issued a
“Memorandum for Chief Executive Officers” captioned “Community Confinement Procedure
Changes.” (Despite its title, no procedures-are changed by this memorandum, only substantive
eligibility standards.) Through this memorandum, the BOP’s General Counsel declared:
“Effective immediately”_and notwithstanding the BOP’s longstanding, published rule as
referenced in 1112 Lte, which was not, and has not been, withdrawn or rescinded_“[p]re-release
programming CCC designations are limited in duration to the last 10% of the prison sentence,

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not to exceed six months. Mem., at 2 (there are minor exceptions inapplicable here). This
memorandum is expressly predicated upon the opinion of the Attorney General’S Office of Legal
Counsel. See Re: Bureau of Prisons practice of placing in community confinement certain
offenders who have received sentences of imprisonment, December 13, 2002. There thus was
and is a fixed, uniform, national policy requiring rejection of any administrative appeal that
Petitioner may have filed.

b. Numerous judges within this Circuit have invalidated the BOP’s rote application
of the December 20, 2002 policy and have ordered both that the BOP consider inmate halfway
house eligibility pursuant to an institution’s past practice and, in the guise of the warden at the
Otisville F ederal Prison Camp, that it release at least one inmate “forthwith” to a halfway house,

that is, before said inmate’s “ten percent date.” In response to this in August 2004 the BOP

issued new regulations that became effective on Fcbruary 14, 2005 that had the practical effect of

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limiting the BOP’s discretion to designate inmates to CCCS the last ten percent of their sentence,
not to exceed six months. 28 C.F.R. § 570.20-.21.

c. The Prisoner Litigation Reform Act, including its provision at 42 U.S.C. §
1997e(a) for exhaustion of administrative remedies, does not apply to federal prisoners’ habeas
corpus actions such as this one. Accordingly, general principles of habeas corpus law do not
require that Evans exhaust administrative remedies, as none are actually available to her, nor
does any statute.

13. Evans -was, therefore, not required to exhaust administrative remedies

CLAIMS FOR RELIEF

14. The Warden’s refusal to consider Evans for any more than 29 days’ assignment to
a halfway house is contrary to the laws of the United States. lt is based on the BOP General
Counsel’s' adherence to the Attorney General’s erroneous reinterpretation of 18 U.S.C. §§ '
3621(b) and 3624(0), which itself is expressed only in a footnote to the OLC opinion. lt is also
based on the categorical application of the new rule found in 28 C.F.R. § 570.20-.21.

a. ln exercising his power to approve any transfer of Evans, the Warden is
authorized to choose any “available penal or correctional facility that meets minimum standards
of health and habitability. . ., whether maintained by the Federal Government or otherwise . .” 18
U.S.C. § 3621(b).v

b. The Warden’s broad, statutory discretion over transfers of Evans and other
prisoners is subject to an obligation, “to the extent practicable, to assure that a prisoner serving a
term of imprisonment spends a reasonable part, not to exceed six months, of the last 10 per
centum of the term to be served under conditions that will afford the prisoner a reasonable

opportunity to adjust to and prepare for the prisoner’s re-entry into the community.” 18 U.S.C. §

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3624(c). § 28 C.F.R. §§ 571.10-571.13; P.S. 5100.07, M ch. 10, 112.g, at 8A; P.S. 7310.04,
MHlZ.a, at 12.

c. Among the penal or correctional facilities to which the Warden must consider
transferring Evans for the final portion of her sentence to facilitate release, whether for the
minimum period_assured by 18 U.S.C. § 3624(0) or longer under 18 U.S.C. § 3621(b), is a CCC,
also known as a halfway house. P.S. 7310.04, si_igg 1111 5, 9.a(l), at 3-4, 8.

d. Properly construing 18 U.S.C. §§ 362l(b) and 3624(c) i_n pm_ri Mrial and in
accordance with longstanding administrative practice, the BOP’s general authority to designate a
place of confinement under § 3621(b) supplements the mandate of § 3624(c), which encourages
pre-release preparation by assuring prisoners at least a minimum period of such preparation, “to
the extent practicable.” Section 3624(0) does not refer direction to halfway houses, much less
abridge their use. (It does expand authority under § 3621(b), however, to the extent stated_to
include horne confinement.) Thus, § 3624(0) does not act to restrict the general designation
authority under § 3621(b) nor the Warden’s long-recognized discretion, in the exercise of that
authority, to approve halfway house placements commencing prior to an inmate’s ten percent
date and to effectuate the same.

e. Under an appropriate exercise of discretion, unconstrained by mistaken legal
limitations, Evans would likely be approved for at or approaching 180 days’ halfway house
placement, prior to being allowed, during the last ten percent of her term to participate in home
confinement

15. The reinterpretation must not be retroactively applied to a sentence imposed upon

a conviction related to an offense committed prior to December 13, 2002, as in this case.

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a. The prior, longstanding interpretation of 18 U.S.C. §§ 3621(b) and 3624(0) by the
courts and the BOP itself is found in P.S. 7310.04, which allows CCC placement of “up to 180
days” (or more “with extraordinary justification”) at the end of the time to be served, regardless
of sentence length. P.S. 7310.04 M 119.a(l), at 8.

b. As stated in Program Statement 7310.04, after quoting the two statutes:
“Therefore, the Bureau is not restricted by §3624(0) in designating a CCC for an inmate_and may
place an inmate in a CCC for more than the ‘last ten per centum of the term,’ or more than six
months, if appropriate.” E. 115, at 3-4.

c. If a CCC is not a “place of imprisonment,” then application of the revised
interpretation would violate the Ex Post Facto Clause by substantially increasing the portion of
Evans’ sentence that must be served in imprisonment

1,6. More importantly, the application of the new rule in 28 C.F.R. § 570.20-.21 has
the identical effect. 28 C.F.R. § 570.20-.21 provides:

§ 570.20 What is the purpose of this subpart?

(a) This subpart provides the Bureau of Prisons' (Bureau) categorical exercise of
discretion for designating inmates to community confinement The Bureau designates
inmates to community confinement only as part of pre-release custody and programming
which will afford the prisoner a reasonable opportunity to adjust to and prepare for re-
entry into the community.`

(b) As discussed in this subpart, the term “community confinemen ” includes Commu`nity
Corrections Centers (CCC) (also known as “halfway houses”) and home confinement

§ 570.21'When will the Bureau designate inmates to community confinement?

(a) The Bureau will designate inmates to community confinement only as part of pre-
release custody and programming, during the last ten percent of the prison sentence being
served, not to exceed six months. _

(b) We may exceed these time-frames only when specific Bureau programs allow greater
periods of community confinement, as provided by separate statutory authority (for
example, residential substance abuse treatment program ( 18 U.S.C. § 3621(€)(2)(A)), or

shock incarceration program (18 U.S.C. § 4046§0))).

 

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17. BOP’s failure to even consider Evans eligible for CCC placement any more than
29 days before her scheduled release constitutes a renunciation by BOP of its obligation to
exercise the discretion afforded it under 28 C.F.R. § 570.20-.21. BOP can not “categorically
abnegate its responsibility [under 28 C.F.R. § 570.20-.21] where the enabling statute proves
specific factors relevant to individualized determinations.” Baker v. Ellingwoo'd, 2005 WL
2276040 (D.Conn. 2005)(invalidating new rule); see also Pimentel v. Gonzales, 367 F.Supp.2d
365 (E.D.N.Y. 2005)(same).

VERIFICATION

Pursuant to' 28 U.S.C. § 2242, Walter F. McKee verifies, as a person acting on Evans’
behalf, to wit, as Evans’ counsel, that all of the factual averments of this Petition are true, either
based upon Mr. McKee’s personal knowledge or upon his personal examination of the pertinent
files and recorde and other reasonable investigation, as witnessed by his signature below.

WHEREFORE, Petitioner Evans prays that this Court:

(a) lssue `a temporary restraining order, preliminary injunction, or writ in the nature of
mandamus, directing the Warden to reconsider Evans for up to 180 days in a Community
Corrections Center, without regard to the disputed December 2002 opinion, 28 C.F.R. § 570.20-
.21 and subsequent changes in practice;

(b) Enter an order under fed.R.Civ.P. 81(a)(2) directing the Warden to show cause
before this Court within 30 days why a Writ of Habeas Corpus should not be issued invalidating
the Warden’s decision;

(c) After full consideration on the merits, including such discovery and/or hearing as
the Court may deem appropriate, issue the writ of habeas corpus or an order in the nature of

mandamus, declaring the proper construction of 18 U.S.C. §§ 3621(b) and 3624(0) to be as

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heretofore understood and directing the Warden not to rely upon the erroneous December 2002
opinion of the Attorney General’s Office of Legal Counsel (or any BOP action or directive based
thereon) when selecting the appropriate portion of Evans’ sentence that she may serve in
community confinement, and not relying on the automatic exclusion of Petitioner based on an
application of 28 C.F.R. § 570.20-.21, relying instead on an actual consideration of Petitioner for
j CCC placement as allowed under sections 3621(b) and 3624 (c) and FPC Danbury’s past
practices; and
(d) Grant such other or further relief pursuant to 28 U.S.C. § 2243 as law and justice
require. l

Dated: O¢’€€'” 4¢" g , 2005 Respectfully submitted,
THE PETITIONER

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